Case 2:06-cr-20185-VAR-VMM ECF No. 509, PageID.4181 Filed 09/28/10 Page 1 of 6




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,                  CASE NUMBER: 06-20185
                                                 HONORABLE VICTORIA A. ROBERTS
v.

MARCUS LAMONT FREEMAN,

                     Defendant.
                                                      /


                                  OPINION AND ORDER

I.     INTRODUCTION

       Defendant Freeman filed a Motion in Limine Re: Defendant’s County Jail

Conversations (Doc. #464). Defendant Alvino Cornelius joined the motion (Doc. #472).

This Motion is DENIED.

II.    ARGUMENT AND ANALYSIS

       A.     Freeman’s County Jail Conversations

       On February 3, 2006, while he was incarcerated at Wayne County Jail pending

state murder charges, Freeman made three telephone calls that were intercepted by the

Government. During the conversations Freeman speaks with a number of individuals

about money, adding minutes to a phone, and making phone calls. (See Doc. # 486,

Exh. A). He states that “B U C,” who is also referred to as “Buck” and “Big dog,” owes

him money. (Exhibit A , Call 1, at p. at 1) Finally, Freeman mentions “Ceaze,” another

alleged coconspirator, and calls himself “Wood.” (Exhibit A, Call 2, at p. at 2).



                                             1
Case 2:06-cr-20185-VAR-VMM ECF No. 509, PageID.4182 Filed 09/28/10 Page 2 of 6




       Freeman argues that the three conversations are inadmissible because they are

irrelevant under Fed. R. Evid. 401, unduly prejudicial under Fed. R. Evid. 403, and that

introduction of the recordings will violate his Fifth Amendment rights to due process and

to receive a fair trial. He contends that the conversations are irrelevant because “the

discussions involve money owed or to be derived from drug dealing and there is no

evidence that the discussions involve any payments of money for the killing of Day.”

(Doc. # 464, at p. 3). The unfair prejudice of these recordings outweighs their probative

value, Freeman asserts, because connecting a defendant with drug activity is prejudicial

when the charges do not involve drug trafficking.

       The Government responds that many of the tapes are needed to establish that

the Defendants had nicknames which are used during other recordings, and the

nicknames connect Defendants to the conspiracy. The Government intends to

introduce redacted versions of these audio recordings at trial. It argues that the

probative value of the calls far outweighs any prejudice because Freeman identifies

himself as “Wood,” and reinforces his connection to “Ceaze,” and the West recordings

indicate that “Wood” played an important role in the conspiracy along with “Buck” and

“Ceaze.” The Government also contends that the calls provide probative evidence that

West owed Freeman money. The Government emphasizes that “[t]he substantial

redactions of the calls to eliminate any obvious discussions of drug trafficking activity

should ameliorate Freeman’s concern of prejudice.” (Id. at 9).

       Freeman objects to admission of the redactions, arguing that the Government

could play less prejudicial recordings in order to identify Freeman as “Wood.” He also

contends that the Government’s theory that the conversations reveal that West owes

                                             2
Case 2:06-cr-20185-VAR-VMM ECF No. 509, PageID.4183 Filed 09/28/10 Page 3 of 6




him money for Day’s murder is incorrect, because they involve discussion of proceeds

from narcotics trafficking and the sale of a house.

              1.     Relevance

       Pursuant to Fed. R. Evid. 402, all relevant evidence is admissible. Relevant

evidence is evidence that has “any tendency to make the existence of any fact that is of

consequence to the determination of the action more probable or less probable than it

would be without the evidence.” FED. R. EVID. 401. This standard is “extremely

liberal.” Dortch v. Fowler, 588 F.3d 396, 400 (6th Cir. 2009) (citation and internal

quotation marks omitted). “Even if a district court believes the evidence is insufficient to

prove the ultimate point for which it is offered, it may not exclude the evidence if it has

the slightest probative worth.” United States v. Whittington, 455 F.3d 736, 738-39 (6th

Cir. 2006) (citations and internal quotation marks omitted).

       The conversations at issue are often cryptic and their subject matter is certainly

not incontrovertible. However, it is not this Court’s job to decipher meaning from the

transcripts. The Government’s theory that the conversations evidence Freeman’s intent

to receive payment from West for the murder of Day, is plausible. So is the theory of

the defense: the conversations reflect transactions unrelated to Day’s murder. However,

the argument that the conversations are open to more than one interpretation and are

insufficient, standing alone, to prove that West owed Freeman money for murdering

Day, does not mean the conversations are irrelevant, and that the Government should

be precluded from introducing them.

       It is within the province of the jury, as finder of fact, and not this Court, to hear

and weigh the evidence, along with arguments made by counsel, to determine how to

                                               3
Case 2:06-cr-20185-VAR-VMM ECF No. 509, PageID.4184 Filed 09/28/10 Page 4 of 6




interpret the recordings and what probative value to assign them. See, e.g., United

States v. Frazier, 387 F.3d 1244, 1272 (11th Cir. 2004) (“As the ultimate fact-finder, it is

the jury that must determine, finally, where the truth in any case lies, and the district

judge as gatekeeper may not usurp this function.”).

       Freeman contends that “B U C,” who Freeman mentions in one of his calls, is not

actually “Buck,” or West, but someone named “Sam,” as indicated in the Government’s

original transcript (rather than “Fam,” as stated in the Government’s revised transcript).

In accordance with Freeman’s right to present an alternative interpretation of the calls,

Freeman may introduce that transcript as evidence that it was not West who owed him

money. See, e.g., United States v. Robinson, 707 F.2d 872, 876 (6th Cir. 1983) (when

there is a dispute concerning the contents of a tape, the jury may be presented with two

transcripts, one containing the government’s version and the other the defense’s

version).

       Freeman’s third call, in which he refers to himself as “Wood,” and mentions

“Ceaze,” is relevant not only for identity purposes, as outlined in the Government’s

response, but, again, to show that “Buck” owed Freeman money and that he is

acquainted with “Ceaze,” also an alleged coconspirator. Although there may be more

innocuous conversations identifying Freeman as “Wood,” the Government cannot be

compelled to utilize an alternative recording when the third call is both relevant and

probative of facts in issue other than identification. See FED. R. EVID. 402 (“All relevant

evidence is admissible.”).

       Finally, Freeman’s assertion that there is no evidence, assuming the

government’s interpretation, that any money owed was for the killing of Day, is incorrect.

                                              4
Case 2:06-cr-20185-VAR-VMM ECF No. 509, PageID.4185 Filed 09/28/10 Page 5 of 6




Evidence that the Government intends to introduce reveals that West had motive to kill

Day, and ties Freeman to the alleged conspiracy. Thus, there is some evidence that the

money owed Freeman was for killing Day. The Court also rejects Freeman’s due

process argument; the admission of relevant and probative evidence does not violate

his constitutional rights.

               2.     Prejudice

       Freeman also contends that his February 3, 2006 conversations should be

excluded under Fed. R. Evid. 403 because they connect him with illegal narcotics

trafficking and are, therefore, unfairly prejudicial.

       Under Rule 403 a court may exclude relevant evidence “if its probative value is

substantially outweighed by the danger of unfair prejudice....” FED. R. EVID. 403. Unfair

prejudice “does not mean the damage to the defendant’s case that results from the

legitimate probative force of the evidence; rather, it refers to evidence which tends to

suggest decision on an improper basis.” United States v. Mendez-Ortiz, 810 F.2d 76,

79 (6th Cir. 1986). Evidence that is prejudicial only because “it paints the defendant in a

bad light is not unfairly prejudicial pursuant to Rule 403.” United States v. Sanders, 95

F.3d 449, 453 (6th Cir. 1996).

       While the conversations discuss money owed Freeman, the Government has

substantially redacted them, and there is no explicit reference to drugs or drug

trafficking. The jury could infer, based on some of what was said, that Freeman was

discussing drug dealing; however, the jury could also infer, and the Government will

certainly argue, that Freeman was not discussing drug money, but the money West

owed him for murdering Day. Of course, there are also innocuous interpretations of

                                               5
Case 2:06-cr-20185-VAR-VMM ECF No. 509, PageID.4186 Filed 09/28/10 Page 6 of 6




everything said. The probative value of the audio recordings is, thus, not substantially

outweighed by the dangers of unfair prejudice.

III.    CONCLUSION

        Freeman’s Motion in Limine Re: Defendant’s County Jail Conversations is

DENIED.




                                                 /s/ Victoria A. Roberts
                                                 Victoria A. Roberts
                                                 United States District Judge

Dated: September 28, 2010

 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 September 28, 2010.

 s/Linda Vertriest
 Deputy Clerk




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